                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 1 of 31



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                                8                                        UNITED STATES DISTRICT COURT

                                9                                     NORTHERN DISTRICT OF CALIFORNIA

                               10
                                    ADINAH CARO-GREENE, individually and on                Case No.
                               11   behalf of all others similarly situated,
                                                                                           CLASS ACTION COMPLAINT
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                               12                           Plaintiff,
                                                                                           1. VIOLATION OF CALIFORNIA
     Malibu, CA 90265




                               13             vs.                                             UNFAIR COMPETITION LAW,
                                                                                              BUSINESS AND PROFESSIONS CODE
                               14   ANCIENT BRANDS, LLC, a Florida Limited                    § 17200, et seq.
                                    Liability Company,                                     2. FALSE AND MISLEADING
                               15                                                             ADVERTISING IN VIOLATION OF
                                                            Defendant.                        BUSINESS AND PROFESSIONS CODE
                               16                                                             § 17500, et seq.
                                                                                           3. VIOLATION OF CALIFORNIA
                               17                                                             CONSUMERS LEGAL REMEDIES
                                                                                              ACT, CIVIL CODE § 1750, et. seq.
                               18                                                          4. UNJUST ENRICHMENT
                                                                                           5. COMMON LAW FRAUD
                               19                                                          6. INTENTIONAL
                                                                                              MISREPRESENTATION
                               20                                                          7. NEGLIGENT MISREPRESENTATION
                               21                                                          DEMAND FOR JURY TRIAL
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 2 of 31




                                1                                                INTRODUCTION
                                2            1.       Defendant manufactures and sells an extremely popular line of protein powder
                                3    products throughout the United States. To increase profits at the expense of consumers and fair
                                4    competition, Defendant deceptively sells its protein powder products in oversized packaging that
                                5    does not reasonably inform consumers that they are more than half empty. Defendant’s slack fill
                                6    scam extends to all flavors, sizes, and varieties of Ancient Nutrition powders sold in opaque
                                7    containers (the “Products”). Defendant dupes unsuspecting consumers across America to pay
                                8    premium prices for empty space. In one version of the Product, the opaque container measures to a
                                9    vertical height of approximately 18.9 cm, while the product inside only measures to a vertical
                               10    height of approximately 9.1 cm. Below is a true and correct image of one version of the Product,
                               11    evidencing the deception. The red line represents the actual fill line, below which is product, and
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                               12    above which is nonfunctional empty space.
     Malibu, CA 90265




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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 3 of 31




                                1            2.       Defendant markets the Products in a systematically misleading manner by
                                2    representing them as adequately filled when, in fact, they contain an unlawful amount of empty
                                3    space or “slack-fill.” Defendant underfills the Products for no lawful reason. The front of the
                                4    Products’ packaging does not include any information that would reasonably apprise Plaintiff of
                                5    the quantity of product relative to the size of the container, such as a fill line. Defendant does this
                                6    to save money (by not filling the containers) and to deceive consumers into purchasing the
                                7    Products over its competitors’ products. Defendant’s slack-fill scheme not only harms consumers,
                                8    but it also harms its competitors who have implemented labeling changes designed to alert
                                9    consumers to the true amount of product in each container. Accordingly, Defendant has violated
                               10    the California Consumers Legal Remedies Act, particularly California Civil Code sections
                               11    1770(a)(2), 1770(a)(5), 1770(a)(7), 1770(a)(9). As such, Defendant has committed per se
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                               12    violations of Business & Professions Code section 17200, et seq. and Business & Professions
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                               13    Code section 17500, et seq.
                               14            3.       Plaintiff and consumers have, accordingly, suffered injury in fact caused by the
                               15    false, fraudulent, unfair, deceptive, unlawful, and misleading practices set forth herein, and seek
                               16    injunctive relief, as well as, inter alia, compensatory damages, statutory damages, restitution, and
                               17    attorneys’ fees.
                               18                 CALIFORNIA STATE AND FEDERAL COURTS FIND SLACK-FILL
                               19              CASES MERITORIOUS AND APPROPRIATE FOR CLASS TREATMENT
                               20            4.       Several state and federal courts have found that cases involving nearly identical
                               21    claims are meritorious and appropriate for class treatment. See, e.g., Winkelbauer v. Orgain
                               22    Mgmt., Case No. 20STCV44583 (L.A.S.C. May 20, 2021) (defendant’s demurrer to claims
                               23    involving slack-filled protein powder products overruled); Coleman v. Mondelez Int'l Inc., Case
                               24    No. CV 20-8100 FMO (AFMx) (C.D. Cal. July 26, 2021) (defendant’s FRCP 12(b)(6) motion to
                               25    dismiss slack-filled Swedish Fish® candy box claims denied); Barrett v. Optimum Nutrition, Case
                               26    No. CV 21-4398-DMG (SKx) (C.D. Cal. Jan. 12, 2022) (defendant’s FRCP 12(b)(6) motion to
                               27    dismiss slack-filled protein powder claims denied in part); Padilla v. The Whitewave Foods Co.,
                               28    et. al., Case No. 2:18-cv-09327-JAK-JC (C.D. Cal. July 26, 2019) (defendant’s FRCP 12(b)(6)

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 4 of 31




                                1    motion to dismiss slack-filled supplement container claims denied); Matic v. United States
                                2    Nutrition, Inc., Case No. 2:18-cv-09592-PSG-AFM (C.D. Cal. Mar. 27, 2019) (defendant’s FRCP
                                3    12(b)(6) motion to dismiss slack-filled supplement container claims denied); Merry, et al. v.
                                4    International Coffee & Tea, LLC dba The Coffee Bean, Case No. CIVDS1920749 (San
                                5    Bernardino Superior Court Jan. 27, 2020) (defendant’s demurrer to slack-filled powder filled
                                6    container claims overruled); Iglesias v. Ferrara Candy Co., Case No. 3:17-cv-00849-VC (N.D.
                                7    Cal. July 25, 2017) (defendant’s FRCP 12(b)(6) motion to dismiss slack-filled Jujyfruits® and
                                8    Lemonhead® candy box claims denied and nationwide settlement class certified) (cert. granted
                                9    Oct. 31, 2018); Tsuchiyama v. Taste of Nature, Inc., Case No. BC651252 (L.A.S.C. Feb. 28,
                               10    2018) (defendant’s motion for judgment on the pleadings involving slack-filled Cookie Dough
                               11    Bites® candy box claims denied and nationwide settlement subsequently certified through
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                               12    Missouri court); Gordon v. Tootsie Roll Industries, Inc., Case No. 2:17-cv-02664-DSF-MRW
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                               13    (C.D. Cal. Oct. 4, 2017) (defendant’s FRCP 12(b)(6) motions to dismiss slack-filled Junior
                               14    Mints® and Sugar Babies® candy box claims denied); Escobar v. Just Born, Inc., Case No. 2:17-
                               15    cv-01826-BRO-PJW (C.D. Cal. June 12, 2017) (defendant’s FRCP 12(b)(6) motion to dismiss
                               16    slack-filled Mike N’ Ike® and Hot Tamales® candy box claims denied and California class action
                               17    certified over opposition) (cert. granted June 19, 2019); Thomas v. Nestle USA, Inc., Cal. Sup.
                               18    Case No. BC649863 (April 29, 2020) (certifying as a class action, over opposition, slack-fill
                               19    claims brought under California consumer protection laws);
                               20                                                   PARTIES
                               21            5.       Plaintiff Adinah Caro-Greene is, and at all times relevant hereto was, a citizen of
                               22    California residing in the county of Sonoma. Plaintiff made a one-time purchase of Ancient
                               23    Nutrition Grass-Fed Collagen Powder and Ancient Nutrition Keto Protein Powder at a Whole
                               24    Foods store in Santa Rosa, California in December of 2021. In making her purchase, Plaintiff
                               25    relied upon the opaque packaging, including the size of the container and product label, which was
                               26    prepared and approved by Defendant and its agents and disseminated statewide and nationwide, as
                               27    well as designed to encourage consumers like Plaintiff to purchase the Products. Plaintiff
                               28    understood the size of the container and product label to indicate that the amount of protein

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 5 of 31




                                1    powder contained therein was commensurate with the size of the container, and she would not
                                2    have purchased the Product, or would not have paid a price premium for the Product, had she
                                3    known that the size of the container and product label were false and misleading. If the Product’s
                                4    packaging and label were not misleading, then Plaintiff would purchase the Product in the future.
                                5            6.       Defendant, Ancient Brands, LLC is a Florida limited liability company
                                6    headquartered in Franklin, Tennessee. Ancient Brands, LLC maintains its principal place of
                                7    business at 2000 Mallory Lane, Suite 130-307, Franklin, Tennessee 37067. Defendant, directly
                                8    and through its agents, conducts business nationwide. Defendant has substantial contacts with and
                                9    receives substantial benefits and income from and through the State of California. Defendant is the
                               10    owner, manufacturer, and distributor of the Products, and is the company that created and/or
                               11    authorized the false, misleading, and deceptive packaging for the Products.
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                               12            7.       In committing the wrongful acts alleged herein, Defendant planned and participated
     Malibu, CA 90265




                               13    in and furthered a common scheme by means of false, misleading, deceptive, and fraudulent
                               14    representations to induce members of the public to purchase the Products. Defendant participated
                               15    in the making of such representations in that it did disseminate or cause to be disseminated said
                               16    misrepresentations.
                               17            8.       Defendant, upon becoming involved with the manufacture, advertising, and sale of
                               18    the Products, knew or should have known that its advertising of the Products’ containers,
                               19    specifically representing that they were full, was false, deceptive, and misleading. Defendant
                               20    affirmatively misrepresented the amount of powder product contained in the Products’ containers
                               21    in order to convince the public and consumers of the Products to purchase the Products, resulting
                               22    in profits of millions of dollars or more to Defendant, all to the damage and detriment of the
                               23    consuming public.
                               24            9.       Defendant has created and still perpetuates a falsehood that the Products’ containers
                               25    contain an amount of product commensurate with the size of the container, though they actually
                               26    contain nonfunctional, unlawful slack-fill. As a result, Defendant’s consistent and uniform
                               27    advertising claims about the Products are false, misleading, and/or likely to deceive in violation of
                               28    California and federal advertising laws.

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                                                                             CLASS ACTION COMPLAINT
                                             Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 6 of 31




                                1                                      JURISDICTION AND VENUE
                                2           10.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.
                                3    Section 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more class
                                4    members, (ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of
                                5    interest and costs, and (iii) there is minimal diversity because at least one Plaintiff and Defendant
                                6    are citizens of different states. The Court has supplemental jurisdiction over any state law claims
                                7    pursuant to 28 U.S.C. Section 1367.
                                8           11.     Pursuant to 28 U.S.C. Section 1391, this Court is the proper venue for this action
                                9    because a substantial part of the events, omissions, and acts giving rise to the claims herein
                               10    occurred in this District: Plaintiff is a citizen of California who resides in this District; Defendant
                               11    made the challenged false representations to Plaintiff in this District; and Plaintiff purchased the
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                               12    Product in this District. Moreover, Defendant receives substantial compensation from sales in this
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                               13    District, actively advertises and sells Products in this District, and made numerous
                               14    misrepresentations through its advertising and labeling of Products, which had a substantial effect
                               15    in this District.
                               16           12.     Defendant is subject to personal jurisdiction in California based upon sufficient
                               17    minimum contacts which exist between Defendant and California. Defendant is authorized to do
                               18    and is doing business in California.
                               19                                       FACTUAL BACKGROUND
                               20           13.     The amount of product inside any product packaging is material to any consumer
                               21    seeking to purchase that product. The average consumer spends only 13 seconds deciding whether
                               22    to make an in-store purchase; 1 this decision is heavily dependent on a product’s packaging,
                               23    including the package dimensions. Research has demonstrated that packages that seem larger are
                               24    more likely to be purchased because consumers expect package size to accurately represent the
                               25    quantity of the good being purchased. 2
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                                       Randall Beard, Make the Most of Your Brand’s 20-Second Window, NIELSEN, Jan. 13, 2015,
                               27    https://www.nielsen.com/us/en/insights/article/2015/make-the-most-of-your-brands-20-second-
                                     windown./.
                               28    2
                                       P. Raghubir & A. Krishna, Vital Dimensions in Volume Perception: Can the Eye Fool the
                                     Stomach?, 36 J. MARKETING RESEARCH 313-326 (1999).
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                                                                           CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 7 of 31




                                1            14.      Accordingly, Defendant chose a certain size container for its Products to convey to
                                2    consumers that they are receiving a certain and substantial amount of protein powder product
                                3    commensurate with the size of the container. Such representations constitute an express warranty
                                4    regarding the Products’ contents.
                                5            15.      Slack-fill is the difference between the actual capacity of a container and the volume
                                6    of product contained therein. Nonfunctional slack-fill is the empty space in a package that is filled
                                7    to less than its capacity for illegitimate or unlawful reasons.
                                8            16.      Defendant falsely represents the quantity of product in each of the Products’ opaque
                                9    containers through its packaging. The size of each container leads the reasonable consumer to
                               10    believe he or she is purchasing a container full of protein powder product when, in reality, what he
                               11    or she actually receives is less than half of what is represented by the size of the container.
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                               12            17.      Even if Plaintiff and other reasonable consumers of the Products had a reasonable
     Malibu, CA 90265




                               13    opportunity to review, prior to the point of sale, other representations of quantity, such as net
                               14    weight or serving disclosures, they did not and would not have reasonably understood or expected
                               15    such representations to translate to a quantity of protein powder product meaningfully different
                               16    from their expectation of a quantity of powder product commensurate with the size of the
                               17    container.
                               18            18.      Prior to the point of sale, the Products’ packaging does not allow for a visual or
                               19    audial confirmation of the contents of the Products. The Products’ opaque packaging prevents a
                               20    consumer from observing the contents before opening. Even if a reasonable consumer were to
                               21    “shake” the Products before opening the container, the reasonable consumer would not be able to
                               22    discern the presence of any nonfunctional slack-fill, let alone the over 50% nonfunctional slack-
                               23    fill that is present in the Products.
                               24            19.      The other information that Defendant provides about the quantity of protein powder
                               25    product on the front and back labels of the Products does not enable reasonable consumers to form
                               26    any meaningful understanding about how to gauge the quantity of contents of the Products as
                               27    compared to the size of each container itself. For instance, the front of the Products’ packaging
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 8 of 31




                                1    does not have any labels that would provide Plaintiff with any meaningful insight as to the amount
                                2    of protein powder to be expected, such as a fill line.
                                3            20.      Disclosures of net weight and serving sizes in ounces, pounds, or grams do not allow
                                4    the reasonable consumer to make any meaningful conclusions about the quantity of protein
                                5    powder contained in the Products’ containers that would be different from the reasonable
                                6    consumer’s expectation that the quantity of protein powder product is commensurate with the size
                                7    of the container.
                                8            21.      The net weight and serving size disclosures do not allow Plaintiff to make – and
                                9    Plaintiff did not make – any meaningful conclusions about the quantity of protein powder product
                               10    contained in the Products’ containers that was different than Plaintiff’s expectations that the
                               11    quantity of product would be commensurate with the size of the containers.
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                               12            22.      Plaintiff would not have purchased the Product had she known that the Product
     Malibu, CA 90265




                               13    contained slack-fill that serves no functional or lawful purpose.
                               14                     None of the Slack-Fill Statutory Exceptions Apply to the Products
                               15            23.      Pursuant to 21 C.F.R. § 100.100, “a food shall be deemed to be misbranded if its
                               16    container is so made, formed, or filled as to be misleading.” An opaque container “shall be
                               17    considered to be filled as to be misleading if it contains nonfunctional slack-fill.” Id.
                               18    Nonfunctional slack-fill is empty space within packaging that is filled to less than its capacity for
                               19    reasons other than provided for in the six enumerated slack fill exceptions.
                               20    A.      21 C.F.R. 100.100(a)(1) – Protection of the Contents
                               21            24.      The slack-fill contained in the Products’ containers does not protect the contents of
                               22    the packages. In fact, because the product is a powder, there is no need to protect the product with
                               23    the slack-fill present.
                               24    B.      21 C.F.R. 100.100(a)(2) – Requirements of the Machines
                               25            25.      The machines used to package the Products would not be affected if there was more
                               26    powder product added. At most, a simple recalibration of the machines would be required. Upon
                               27    information and belief, adjusting these machines is rather simple.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 9 of 31




                                1            26.      Because the packages are only filled to 48% of their capacity, Defendant can
                                2    increase the Products’ fill level significantly without affecting how the containers are sealed, or it
                                3    can disclose the fill-level on the outside labeling to inform consumers of the amount of powder
                                4    product actually in the container, consistent with the law.
                                5    C.      21 C.F.R. 100.100(a)(3) – Settling During Shipping and Handling
                                6            27.      The slack-fill present in the Products’ containers is not a result of the powder
                                7    product settling during shipping and handling. Given the Products’ density, shape, and
                                8    composition, any settling occurs immediately at the point of fill. No measurable product settling
                                9    occurs during subsequent shipping and handling.
                               10            28.      Even if some product settling may occur, there is no reason why the Products’
                               11    containers are more than half empty, when competitor products – such as the Four Sigmatic
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                               12    product below – which have similar product density, shape, and composition as Defendant’s
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                               13    product, are filled nearly 90% full.
                               14    D.      21 C.F.R. 100.100(a)(4) – Specific Function of Package
                               15            29.      The packages do not perform a specific function that necessitates the slack-fill. This
                               16    safe harbor would only apply if a specific function is “inherent to the nature of the food and is
                               17    clearly communicated to consumers.” The packages do not perform a function that is inherent to
                               18    the nature of the food. Defendant did not communicate a specific function to consumers, making
                               19    this provision inapplicable.
                               20    E.      21 C.F.R. 100.100(a)(5) – Reusable Container
                               21            30.      The Products’ packaging is not reusable or of any significant value to the Products
                               22    independent of its function to hold the protein powder product. The Products’ containers are
                               23    intended to be discarded immediately after the powder product is used.
                               24    F.      21 C.F.R. 100.100(a)(6) – Inability to Increase Fill or Decrease Container Size
                               25            31.      The slack-fill present in the Products’ containers does not accommodate required
                               26    labeling, discourage pilfering, facilitate handling, or prevent tampering.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 10 of 31




                                1            32.      Defendant can easily increase the quantity of protein powder product contained in
                                2    each container (or, alternatively, decrease the size of the containers) by approximately 52% more
                                3    volume.
                                4            33.      Because none of the safe harbor provisions apply to the Products’ packaging, the
                                5    packages contain nonfunctional slack-fill in violation of 21 C.F.R. 100.100 and are, therefore,
                                6    filled as to be misleading. Plaintiff shall proffer expert testimony to establish these facts once this
                                7    case reaches the merits more definitively.
                                8                                     Comparator Products Serve as Additional
                                9                                        Evidence of Nonfunctional Slack-Fill
                               10            34.      Contrast Defendant’s packaging of the Products with a comparator product, such as
                               11    Four Sigmatic Superfood Protein powder, which is manufactured and packaged in a similar
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                               12    opaque container. The Four Sigmatic container measures to a vertical height of approximately 19
     Malibu, CA 90265




                               13    cm. The container is filled with product to a height of approximately 17 cm. Therefore, this
                               14    product is nearly 90% filled with a similar protein powder product. Below is a true and correct
                               15    image of the comparator product. The red line represents the actual fill line, below which is
                               16    product, and above which is nonfunctional empty space.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 11 of 31




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     Malibu, CA 90265




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                               20            35.      The Four Sigmatic packaging provides additional evidence that the slack-fill present
                               21    in the Products’ packaging is nonfunctional.
                               22            36.      The Four Sigmatic packaging provides additional evidence that the slack-fill in the
                               23    Products is not necessary to protect and, in fact, does not protect, the contents of the Products; is
                               24    not a requirement of the machines used for enclosing the contents of the Products; is not a result of
                               25    unavoidable product settling during shipping and handling; is not needed to perform a specific
                               26    function; and is not part of a legitimate reusable container.
                               27            37.      The Four Sigmatic packaging provides additional evidence that Defendant is able to
                               28    increase the level of fill inside the Products’ containers.

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 12 of 31




                                1            38.      The Four Sigmatic packaging provides additional evidence that Defendant has
                                2    reasonable alternative designs available to it in its packaging of the Products.
                                3            39.      Plaintiff did not expect that the Product would contain nonfunctional slack-fill,
                                4    especially given that nonfunctional slack-fill, as opposed to functional slack-fill, is prohibited by
                                5    federal law and California law.
                                6            40.      The Products are made, formed, and filled so as to be misleading. The Products are,
                                7    therefore, misbranded.
                                8            41.      The slack-fill contained in the Products does not serve a legitimate or lawful
                                9    purpose.
                               10            42.      Defendant’s false, deceptive, and misleading label statements are unlawful under
                               11    state and federal consumer protection and packaging laws.
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                               12            43.      Defendant intended for Plaintiff and the Class members to be misled.
     Malibu, CA 90265




                               13            44.      Defendant’s misleading and deceptive practices proximately caused harm to
                               14    Plaintiff and the Class.
                               15                                            CLASS ACTION ALLEGATIONS
                               16            45.      Plaintiff brings this action on her own behalf and on behalf of all other persons
                               17    similarly situated. The Class which Plaintiff seeks to represent comprises:
                               18                     “All persons who purchased the Products in the United States or, alternatively, the
                                                      State of California, for personal use and not for resale during the time period of four
                               19                     years prior to the filing of the complaint through the present.”
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                                     Excluded from the Class are Defendant’s officers, directors, and employees, and any individual
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                                     who received remuneration from Defendant in connection with that individual’s use or
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                                     endorsement of the Products. Said definition may be further defined or amended by additional
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                                     pleadings, evidentiary hearings, a class certification hearing, and orders of this Court.
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                                             46.      The Class is comprised of many thousands of persons. The Class is so numerous that
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                                     joinder of all members is impracticable and the disposition of their claims in a class action will
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                                     benefit the parties and the Court.
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                                                                              CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 13 of 31




                                1            47.      Common questions of law and fact exist as to all Class members and predominate
                                2    over questions affecting only individual Class members. Common questions of law and fact
                                3    include, but are not limited to, the following:
                                4                  a. The true nature and amount of product contained in each Products’ packaging;
                                5                  b. Whether the marketing, advertising, packaging, labeling, and other promotional
                                6                     materials for the Products are deceptive;
                                7                  c. Whether Defendant misrepresented the approval of the FDA, United States
                                8                     Congress, and California Legislature that the Products’ packaging complied with
                                9                     federal and California slack-fill regulations and statutes;
                               10                  d. Whether the Products contain nonfunctional slack-fill in violation of 21 C.F.R.
                               11                     Section 100.100, et seq.;
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                               12                  e. Whether the Products contain nonfunctional slack-fill in violation of California
     Malibu, CA 90265




                               13                     Business and Professions Code Section 12606.2, et seq.;
                               14                  f. Whether Defendant’s conduct is an unlawful business act or practice within the
                               15                     meaning of Business and Professions Code section 17200, et seq.;
                               16                  g. Whether Defendant’s conduct is a fraudulent business act or practice within the
                               17                     meaning of Business and Professions Code section 17200, et seq.;
                               18                  h. Whether Defendant’s conduct is an unfair business act or practice within the
                               19                     meaning of Business and Professions Code section 17200, et seq.;
                               20                  i. Whether Defendant’s advertising is untrue or misleading within the meaning of
                               21                     Business and Professions Code section 17500, et seq.;
                               22                  j. Whether Defendant made false and misleading representations in its advertising and
                               23                     labeling of the Product;
                               24                  k. Whether Defendant knew or should have known that the misrepresentations were
                               25                     false;
                               26                  l. Whether Plaintiff and the Class paid more money for the Products than they actually
                               27                     received;
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 14 of 31




                                1                  m. How much more money Plaintiff and the Class paid for the Products than they
                                2                     actually received;
                                3                  n. Whether Defendant committed common law fraud;
                                4                  o. Whether Defendant was unjustly enriched at the expense of Plaintiff and the Class
                                5                     members;
                                6                  p. Whether Defendant intentionally misrepresented the amount of powder contained in
                                7                     the Products’ packaging; and
                                8                  q. Whether Defendant negligently misrepresented the amount of powder contained in
                                9                     the Products’ packaging.
                               10            48.      Plaintiff’s claims are typical of the claims of the proposed Class, as the
                               11    representations and omissions made by Defendant are uniform and consistent and are contained on
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                               12    packaging and labeling that was seen and relied on by Plaintiff and members of the Class.
     Malibu, CA 90265




                               13            49.      Plaintiff will fairly and adequately represent and protect the interests of the proposed
                               14    Class. Plaintiff has retained competent and experienced counsel in class action and other complex
                               15    litigation. Plaintiff’s Counsel prosecuted the largest slack-fill nationwide class action settlement in
                               16    2018. Plaintiff’s Counsel also was the first law firm to successfully certify a slack-fill lawsuit
                               17    involving theater box candy confectioners (twice in 2019 and 2020, respectively).
                               18            50.      Plaintiff and the Class have suffered injury in fact and have lost money as a result of
                               19    Defendant’s false, deceptive, and misleading representations. Plaintiff purchased the Product
                               20    because of the size of the container and the product label, which she believed to be indicative of
                               21    the amount of protein powder product contained therein as commensurate with the size of the
                               22    container. Plaintiff relied on Defendant’s representations and would not have purchased the
                               23    Product if she had known that the packaging, labeling, and advertising as described herein was
                               24    false and misleading.
                               25            51.      The Class is identifiable and readily ascertainable. Notice can be provided to such
                               26    purchasers using techniques and a form of notice similar to those customarily used in class actions
                               27    and by Internet publication, radio, newspapers, and magazines.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 15 of 31




                                1            52.      A class action is superior to other available methods for fair and efficient
                                2    adjudication of this controversy. The expense and burden of individual litigation would make it
                                3    impracticable or impossible for the Class to prosecute their claims individually. The trial and
                                4    litigation of Plaintiffs’ claims are manageable. Individual litigation of the legal and factual issues
                                5    raised by Defendant’s conduct would increase delay and expense to all parties and the court
                                6    system. The class action device presents far fewer management difficulties and provides the
                                7    benefits of a single, uniform adjudication, economies of scale, and comprehensive supervision by
                                8    a single court.
                                9            53.      Defendant has acted on grounds generally applicable to the entire Class, thereby
                               10    making final injunctive relief and/or corresponding declaratory relief appropriate with respect to
                               11    the Class as a whole. The prosecution of separate actions by individual Class members would
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                               12    create the risk of inconsistent or varying adjudications with respect to individual members of the
     Malibu, CA 90265




                               13    Class that would establish incompatible standards of conduct for Defendant.
                               14            54.      Absent a class action, Defendant will likely retain the benefits of its wrongdoing.
                               15    Because of the small size of the individual Class members’ claims, few, if any, Class members
                               16    could afford to seek legal redress for the wrongs complained of herein. Absent a representative
                               17    action, the Class members will continue to suffer losses and Defendant will be allowed to continue
                               18    these violations of law and to retain the proceeds of its ill-gotten gains.
                               19                                                  COUNT ONE
                               20                     VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
                               21                              BUSINESS & PROFESSIONS CODE § 17200, et seq.
                               22            55.      Plaintiff repeats and re-alleges the allegations set forth in the preceding paragraphs
                               23    and incorporates the same as if set forth herein at length.
                               24            56.      Plaintiff brings this claim individually and on behalf of the Class.
                               25            57.      Congress passed the Federal Food, Drug, and Cosmetic Act (“FDCA”), and in so
                               26    doing established the Federal Food and Drug Administration (“FDA”) to “promote the public
                               27    health” by ensuring that “foods are safe, wholesome, sanitary, and properly labeled.” 21 U.S.C.
                               28    §393.

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                                                                             CLASS ACTION COMPLAINT
                                               Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 16 of 31




                                1              58.    The FDA has implemented regulations to achieve this objective. See, e.g., 21 C.F.R.
                                2    § 101.1 et seq.
                                3              59.    The legislature of California has incorporated 21 C.F.R. Section 100.100, which
                                4    prohibits nonfunctional slack-fill, into the State’s Business and Professions Code Section 12606.2
                                5    et seq.
                                6              60.    The FDA enforces the FDCA and accompanying regulations; “[t]here is no private
                                7    right of action under the FDCA.” Ivie v. Kraft Foods Global, Inc., 2013 U.S. Dist. LEXIS
                                8    25615,2013 WL 685372, at *1 (internal citations omitted).
                                9              61.    In 1990, Congress passed an amendment to the FDCA, the Nutrition Labeling and
                               10    Education Act (“NLEA”), which imposed a number of requirements specifically governing food
                               11    nutritional content labeling. See, e.g., 21 U.S.C. § 343 et. seq.
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                               12              62.    Plaintiff is not suing under the FDCA, but under California state law.
     Malibu, CA 90265




                               13              63.    The California Sherman Food, Drug, and Cosmetic Act (“Sherman Law”), Cal.
                               14    Health & Safety Code Section 109875 et seq., has adopted wholesale the food labeling
                               15    requirements of the FDCA and NLEA as the food regulations of California. Cal. Health & Safety
                               16    Code Section 110100.
                               17              64.    The Sherman Law declares any food to be misbranded if it is false or misleading in
                               18    any particular, if the labeling does not conform with the requirements for nutrition labeling set
                               19    forth in certain provisions of the NLEA. Cal. Health & Safety Code Sections 110660, 110665,
                               20    110670.
                               21              65.    The UCL prohibits “any unlawful, unfair . . . or fraudulent business act or practice.”
                               22    Cal. Bus & Prof. Code § 17200.
                               23                                    A.      “Unfawdcmfdnmdcnmkuy5ir Prong”
                               24              66.    Under California’s Unfair Competition Law, Cal. Bus. & Prof. Code Section 17200,
                               25    et seq., a challenged activity is “unfair” when “any injury it causes outweighs any benefits
                               26    provided to consumers and the injury is one that the consumers themselves could not reasonably
                               27    avoid.” Camacho v. Auto Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 17 of 31




                                1            67.      Defendant’s action of leaving 52% nonfunctional slack-fill in its Products does not
                                2    confer any benefit to consumers.
                                3            68.      Defendant’s action of leaving 52% nonfunctional slack-fill in its Products causes
                                4    injuries to consumers, who do not receive a quantity of product commensurate with their
                                5    reasonable expectations.
                                6            69.      Defendant’s action of leaving 52% nonfunctional slack-fill in its Products causes
                                7    injuries to consumers, who do not receive a level of protein commensurate with their reasonable
                                8    expectations.
                                9            70.      Defendant’s action of leaving 52% nonfunctional slack-fill in its Products causes
                               10    injuries to consumers, who end up overpaying for the Products and receiving a quantity of protein
                               11    powder less than what they expected to receive.
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                               12            71.      Consumers cannot avoid any of the injuries caused by the 52% nonfunctional slack-
     Malibu, CA 90265




                               13    fill in Defendant’s Products.
                               14            72.      Accordingly, the injuries caused by Defendant’s inclusion of 52% nonfunctional
                               15    slack-fill in the Products outweigh any benefits.
                               16            73.      Some courts conduct a balancing test to decide if a challenged activity amounts to
                               17    unfair conduct under California Business and Professions Code Section 17200. They “weigh the
                               18    utility of the defendant’s conduct against the gravity of the harm to the alleged victim.” Davis v.
                               19    HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).
                               20            74.      Here, Defendant’s conduct of including 52% nonfunctional slack-fill in the
                               21    Products’ packaging has no utility and financially harms purchasers. Thus, the utility of
                               22    Defendant’s conduct is vastly outweighed by the gravity of harm.
                               23            75.      Some courts require that “unfairness must be tethered to some legislative declared
                               24    policy or proof of some actual or threatened impact on competition.” Lozano v. AT&T Wireless
                               25    Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).
                               26            76.      The California legislature maintains a declared policy of prohibiting nonfunctional
                               27    slack-fill in consumer goods, as reflected in State’s Business and Professions Code Section
                               28    12606.2 and California Health and Safety Code Section 110100.

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 18 of 31




                                1            77.      The 52% of nonfunctional slack-fill contained in the Products is tethered to a
                                2    legislative policy declared in California according to Cal. Business and Professions Code
                                3    Section12606.2 and Cal. Health & Safety Code Section 110100.
                                4            78.      Defendant’s packaging of the Products, as alleged in the preceding paragraphs, is
                                5    false, deceptive, misleading, and unreasonable, and constitutes unfair conduct.
                                6            79.      Defendant knew or should have known of its unfair conduct.
                                7            80.      As alleged in the preceding paragraphs, the misrepresentations by Defendant
                                8    detailed above constitute an unfair business practice within the meaning of California Business
                                9    and Professions Code Section 17200.
                               10            81.      There existed reasonably available alternatives to further Defendant’s legitimate
                               11    business interests, other than the conduct described herein. Defendant could have used packaging
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                               12    appropriate for the amount of protein powder product contained within the Products.
     Malibu, CA 90265




                               13            82.      All of the conduct alleged herein occurs and continues to occur in Defendant’s
                               14    business. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct
                               15    repeated on thousands of occasions daily.
                               16            83.      Plaintiff and the Class have suffered injury in fact and have lost money as a result of
                               17    Defendant’s unfair conduct. Plaintiff paid an unwarranted premium for this product. Specifically,
                               18    Plaintiff paid for 52% of protein powder product she never received. Plaintiff would not have
                               19    purchased the Product if she had known that the Product’s packaging contained nonfunctional
                               20    slack-fill.
                               21                                             B.   “Fraudulent” Prong
                               22            84.      California Business and Professions Code Section 17200, et seq., considers conduct
                               23    fraudulent and prohibits said conduct if it is likely to deceive members of the public. Bank of the
                               24    West v. Superior Court, 2 Cal. 4th 1254, 1267 (1992).
                               25            85.      Defendant’s conduct of packaging the Products with 52% nonfunctional slack-fill is
                               26    likely to deceive members of the public.
                               27            86.      Defendant’s packaging of the Products, as alleged in the preceding paragraphs, is
                               28    false, deceptive, misleading, and unreasonable, and constitutes fraudulent conduct.

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 19 of 31




                                1            87.      Defendant knew or should have known of its fraudulent conduct.
                                2            88.      As alleged in the preceding paragraphs, the misrepresentations by Defendant
                                3    detailed above constitute a fraudulent business practice in violation of California Business &
                                4    Professions Code Section 17200.
                                5            89.      Defendant had reasonably available alternatives to further its legitimate business
                                6    interests, other than the conduct described herein. Defendant could have used packaging
                                7    appropriate for the proportion of Products contained therein.
                                8            90.      All of the conduct alleged herein occurs and continues to occur in Defendant’s
                                9    business. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct
                               10    repeated on thousands of occasions daily.
                               11            91.      Plaintiff and the Class have suffered injury in fact and have lost money as a result of
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                               12    Defendant’s fraudulent conduct. Plaintiff paid an unwarranted premium for the Product.
     Malibu, CA 90265




                               13    Specifically, Plaintiff paid for 52% of protein powder product she never received. Plaintiff would
                               14    not have purchased the Product if she had known that the packaging contained nonfunctional
                               15    slack-fill.
                               16                                              C.   “Unlawful” Prong
                               17            92.      California Business and Professions Code Section 17200, et seq., identifies
                               18    violations of other laws as “unlawful practices that the unfair competition law makes
                               19    independently actionable.” Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D.
                               20    Cal. 2008).
                               21            93.      Defendant’s packaging of the Products, as alleged in the preceding paragraphs,
                               22    violates California Civil Code Section 1750, et. seq., California Business and Professions Code
                               23    Section 17500, et. seq., Cal. Business and Professions Code Section 12606.2 et. seq., and 21
                               24    C.F.R Section 100.100.
                               25            94.      Defendant’s packaging of the Products, as alleged in the preceding paragraphs, is
                               26    false, deceptive, misleading, and unreasonable, and constitutes unlawful conduct.
                               27            95.      Defendant knew or should have known of its unlawful conduct.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 20 of 31




                                1            96.      As alleged in the preceding paragraphs, the misrepresentations by Defendant
                                2    detailed above constitute an unlawful business practice within the meaning of California Business
                                3    and Professions Code Section 17200.
                                4            97.      There were reasonably available alternatives to further Defendant’s legitimate
                                5    business interests, other than the conduct alleged herein. Defendant could have either used
                                6    packaging appropriate for the amount of protein powder product contained therein or indicated
                                7    how much powder the Products contained with a clear and conspicuous fill line.
                                8            98.      All of the conduct alleged herein occurred and continues to occur in Defendant’s
                                9    business. Defendant’s unlawful conduct is part of a pattern or generalized course of conduct
                               10    repeated on thousands of occasions daily.
                               11            99.      Plaintiff and the Class have suffered injury in fact and have lost money as a result of
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                               12    Defendant’s unlawful conduct. Plaintiff paid an unwarranted premium for this product.
     Malibu, CA 90265




                               13    Specifically, Plaintiff paid for 52% of protein powder product she never received. Plaintiff would
                               14    not have purchased the Product if she had known that the packaging contained nonfunctional
                               15    slack-fill.
                               16            100.     As a result of the business acts and practices described above, Plaintiff and members
                               17    of the Class, pursuant to § 17203, are entitled to an order enjoining such future wrongful conduct
                               18    on the part of Defendant and such other orders and judgments that may be necessary to disgorge
                               19    Defendant’s ill-gotten gains and to restore to any person in interest any money paid for the
                               20    Products as a result of the wrongful conduct of Defendant.
                               21                  a. Plaintiff and members of the Class are entitled to equitable relief as no adequate
                               22                     remedy at law exists.
                               23                     (1) The applicable limitations period is four years for claims brought under the UCL,
                               24                     which is one year longer than the applicable statute of limitations under the FAL and
                               25                     CLRA. Thus, class members who purchased the Products between 3 and 4 years
                               26                     prior to the filing of the complaint will be barred from the Class if equitable relief
                               27                     were not granted under the UCL.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 21 of 31




                                1                     (2) The scope of actionable misconduct under the unfair prong of the UCL is
                                2                     broader than the other causes of action asserted herein to include, for example, the
                                3                     overall unfair marketing scheme of underfilling the Products’ packaging. Thus,
                                4                     Plaintiff and class members may be entitled to restitution under the UCL, while not
                                5                     entitled to damages under other causes of action asserted herein (e.g., the FAL
                                6                     requires actual or constructive knowledge of the falsity; the CLRA is limited to
                                7                     certain types of plaintiffs (an individual who seeks or acquires, by purchase or lease,
                                8                     any goods or services for personal, family, or household purposes) and other
                                9                     statutorily enumerated conduct).
                               10                     (3) Injunctive relief is appropriate on behalf of Plaintiff and members of the Class
                               11                     because Defendant continues to deceptively underfill the Products’ packaging.
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                               12                     Injunctive relief is necessary to prevent Defendant from continuing to engage in this
     Malibu, CA 90265




                               13                     unfair, fraudulent, and/or unlawful conduct described herein and to prevent future
                               14                     harm—none of which can be achieved through available legal remedies. Further,
                               15                     injunctive relief, in the form of packaging or label modifications, is necessary to
                               16                     dispel public misperception about the Products that has resulted from years of
                               17                     Defendant’s unlawful marketing efforts. Such modifications could include, but are
                               18                     not limited to, shrinking the packaging, adding more powder product to the
                               19                     packaging, or adding a fill line on the front label. Such relief is not available through
                               20                     a legal remedy, as monetary damages may be awarded to remedy past harm (i.e.,
                               21                     purchasers who have been misled), while injunctive relief is necessary to remedy
                               22                     future harm (i.e., prevent future purchasers from being misled), under the current
                               23                     circumstances where the dollar amount of future damages is not reasonably
                               24                     ascertainable at this time. Plaintiff is, currently, unable to accurately quantify the
                               25                     damages caused by Defendant’s future harm (e.g., the dollar amount that Plaintiff
                               26                     and Class members will pay for the underfilled Products), rendering injunctive relief
                               27                     a necessary remedy.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 22 of 31




                                1            101.     Pursuant to Civil Code § 3287(a), Plaintiff and the Class are further entitled to pre-
                                2    judgment interest as a direct and proximate result of Defendant’s unfair and fraudulent business
                                3    conduct. The amount on which interest is to be calculated is a sum certain and capable of
                                4    calculation, and Plaintiff and the Class are entitled to interest in an amount according to proof.
                                5                                                  COUNT TWO
                                6           FALSE AND MISLEADING ADVERTISING IN VIOLATION OF BUSINESS &
                                7                                       PROFESSIONS CODE § 17500, et seq.
                                8            102.     Plaintiff repeats and re-alleges the allegations set forth in the preceding paragraphs
                                9    and incorporates the same as if set forth herein at length.
                               10            103.     Plaintiff brings this claim individually and on behalf of the Class.
                               11            104.     California’s False Advertising Law, California Business and Professions Code
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                               12    Section 17500, et seq. makes it “unlawful for any person to make or disseminate or cause to be
     Malibu, CA 90265




                               13    made or disseminated before the public in this state, in any advertising device or in any other
                               14    manner or means whatever, including over the Internet, any statement, concerning personal
                               15    property or services, professional or otherwise, or performance or disposition thereof, which is
                               16    untrue or misleading and which is known, or which by the exercise of reasonable care should
                               17    beknown, to be untrue or misleading.”
                               18            105.     Defendant knowingly manipulated the physical dimensions of the Products’
                               19    containers, or stated another way, under-filled the amount of protein powder product in Products,
                               20    by including 52% nonfunctional slack-fill as a means to mislead the public about the amount of
                               21    protein powder product contained in each package.
                               22            106.     Defendant controlled the packaging of the Products. It knew or should have known,
                               23    through the exercise of reasonable care, that its representations about the quantity of protein
                               24    powder product contained in the Products were untrue and misleading.
                               25            107.     Defendant’s action of packaging the Products with 52% nonfunctional slack-fill
                               26    instead of including more protein powder content in the container, or decreasing the size of the
                               27    container, is likely to deceive the general public.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 23 of 31




                                1            108.     Defendant’s actions were false and misleading, such that the general public is and
                                2    was likely to be deceived, in violation of Section 17500.
                                3            109.     As a direct and proximate result of Defendant’s conduct alleged herein in violation
                                4    of the FAL, Plaintiff and members of the Class, pursuant to § 17535, are entitled to an order of
                                5    this Court enjoining such future wrongful conduct on the part of Defendant, and requiring
                                6    Defendant to disclose the true nature of its misrepresentations.
                                7                a. Plaintiff and members of the Class are entitled to equitable relief as no adequate
                                8                     remedy at law exists.
                                9                     (1) The scope of permissible plaintiffs under the FAL is broader than the CLRA to
                               10                         include, for example, individuals or entities who purchased the Products for non-
                               11                         personal, non-family, and non-household purposes. Thus, Plaintiff and class
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                               12                         members may be entitled to restitution under the FAL, while not entitled to
     Malibu, CA 90265




                               13                         damages under the CLRA.
                               14                     (2) Injunctive relief is appropriate on behalf of Plaintiff and members of the Class
                               15                         because Defendant continues to deceptively underfill the Products’ packaging.
                               16                         Injunctive relief is necessary to prevent Defendant from continuing to engage in
                               17                         the unlawful conduct described herein and to prevent future harm—none of
                               18                         which can be achieved through available legal remedies. Further, injunctive
                               19                         relief, in the form of packaging or label modifications, is necessary to dispel
                               20                         public misperception about the Products that has resulted from years of
                               21                         Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such
                               22                         modifications would include, but are not limited to, shrinking the packaging,
                               23                         adding more powder product to the packaging, or adding a fill line the front
                               24                         label. Such relief is also not available through a legal remedy as monetary
                               25                         damages may be awarded to remedy past harm (i.e., purchasers who have been
                               26                         misled), while injunctive relief is necessary to remedy future harm (i.e., prevent
                               27                         future purchasers from being misled), under the current circumstances where the
                               28                         dollar amount of future damages is not reasonably ascertainable at this time.

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 24 of 31




                                1                         Plaintiff is, currently, unable to accurately quantify the damages caused by
                                2                         Defendant’s future harm (e.g., the dollar amount that Plaintiff and Class
                                3                         members overpay pay for the underfilled Products), rendering injunctive relief a
                                4                         necessary remedy.
                                5            110.     Plaintiff and the Class have suffered injury in fact and have lost money as a result of
                                6    Defendant’s false representations. Plaintiff purchased the Products in reliance upon the claims by
                                7    Defendant that the Products were of the quantity represented by Defendant’s packaging and
                                8    advertising. Plaintiff would not have purchased the Products if she had known that the packaging
                                9    and labeling as alleged herein were false.
                               10            111.     Plaintiff and members of the Class also request an order requiring Defendant to
                               11    disgorge its ill-gotten gains and/or award full restitution of all monies wrongfully acquired by
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                               12    Defendant by means of such acts of false advertising, plus interests and attorneys’ fees.
     Malibu, CA 90265




                               13                                                 COUNT THREE
                               14              VIOLATION OF CALIFORNIA CONSUMERS LEGAL REMEDIES ACT,
                               15                                    CALIFORNIA CIVIL CODE § 1750, et seq.
                               16            112.     Plaintiff repeats and re-alleges the allegations set forth in the preceding paragraphs
                               17    and incorporates the same as if set forth herein at length.
                               18            113.     The CLRA prohibits certain “unfair methods of competition and unfair or deceptive
                               19    acts or practices” in connection with a sale of goods.
                               20            114.     The practices described herein, specifically Defendant’s packaging, advertising, and
                               21    sale of the Products, were intended to result and did result in the sale of the Products to the
                               22    consuming public and violated and continue to violate sections 1770(a)(2), 1770(a)(5), 1770(a)(7),
                               23    1770(a)(9) of the CLRA by (1) misrepresenting the approval of the Products as compliant with 21
                               24    C.F.R Section 100.100, California Business and Professions Code Section 12606.2, and the
                               25    Sherman Law; (2) representing the Products have characteristics and quantities that they do not
                               26    have; (3) advertising and packaging the Products with intent not to sell them as advertised and
                               27    packaged; and (4) representing that the Products have been supplied in accordance with a previous
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 25 of 31




                                1    representation as to the quantity of protein powder product contained within each container, when
                                2    they have not.
                                3            115.     Defendant fraudulently deceived Plaintiff and the Class by representing that the
                                4    Products’ packaging, which includes 52% nonfunctional slack-fill, actually conforms to federal
                                5    and California slack-fill regulations and statutes including the Sherman Law, California Business
                                6    and Professions Code Section 12606.2, and 21 C.F.R. 100.100.
                                7            116.     Defendant packaged the Products in containers that contain 52% nonfunctional
                                8    slack-fill and made material misrepresentations to fraudulently deceive Plaintiff and the Class.
                                9            117.     Defendant fraudulently deceived Plaintiff and the Class by misrepresenting the
                               10    Products as having characteristics and quantities which they do not have, e.g., that the Products
                               11    are adequately filled when they are not. In doing so, Defendant intentionally misrepresented and
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 22525 Pacific Coast Highway




                               12    concealed material facts from Plaintiff and the Class. Said misrepresentations and concealment
     Malibu, CA 90265




                               13    were done with the intention of deceiving Plaintiff and the Class and depriving them of their legal
                               14    rights and money.
                               15            118.     Defendant fraudulently deceived Plaintiff and the Class by packaging and
                               16    advertising the Products with intent not to sell them as advertised and by intentionally under-
                               17    filling the Products’ containers and replacing protein powder product with nonfunctional slack-fill.
                               18    In doing so, Defendant intentionally misrepresented and concealed material facts from Plaintiff
                               19    and the Class. Said misrepresentations and concealment were done with the intention of deceiving
                               20    Plaintiff and the Class and depriving them of their legal rights and money.
                               21            119.     Defendant fraudulently deceived Plaintiff and the Class by representing that the
                               22    Products were supplied in accordance with an accurate representation as to the quantity of protein
                               23    powder product contained therein when they were not. Defendant presented the physical
                               24    dimensions of the Products’ packaging to Plaintiff and the Class before the point of purchase and
                               25    gave Plaintiff and the Class a reasonable expectation that the quantity of product contained therein
                               26    would be commensurate with the size of packaging. In doing so, Defendant intentionally
                               27    misrepresented and concealed material facts from Plaintiff and the Class. Said misrepresentations
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 26 of 31




                                1    and concealment were done with the intention of deceiving Plaintiff and the Class and depriving
                                2    them of their legal rights and money.
                                3            120.     Defendant knew or should have known, through the exercise of reasonable care, that
                                4    the Products’ packaging was misleading.
                                5            121.     Defendant’s actions as described herein were done with conscious disregard of
                                6    Plaintiff’s rights, and Defendant was wanton and malicious in its concealment of the same.
                                7            122.     Defendant’s packaging of the Products was a material factor in Plaintiff’s and the
                                8    Class’s decisions to purchase the Products. Based on Defendant’s packaging of the Products,
                                9    Plaintiff and the Class reasonably believed that they were getting more product than they actually
                               10    received. Had they known the truth of the matter, Plaintiff and the Class would not have purchased
                               11    the Products.
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                               12            123.     Plaintiff and the Class have suffered injury in fact and have lost money as a result of
     Malibu, CA 90265




                               13    Defendant’s unfair, unlawful, and fraudulent conduct. Specifically, Plaintiff paid for protein
                               14    powder product she never received. Plaintiff would not have purchased the Product had she
                               15    known the container contained nonfunctional slack-fill.
                               16            124.     Plaintiff respectfully requests that the Court enjoin Defendant from continuing to
                               17    employ the unlawful methods, acts, and practices alleged herein pursuant to § 1780(a)(2). In
                               18    addition, Defendant should be compelled to provide restitution and damages to consumers who
                               19    paid for Products that are not what they expected to receive due to Defendant’s
                               20    misrepresentations.
                               21                a. Plaintiff and members of the Class are entitled to equitable relief as no adequate
                               22                     remedy at law exists.
                               23                     (1) Injunctive relief is appropriate on behalf of Plaintiff and members of the Class
                               24                     because Defendant continues to deceptively underfill the Products’ packaging.
                               25                     Injunctive relief is necessary to prevent Defendant from continuing to engage in the
                               26                     unlawful conduct described herein and to prevent future harm – none of which can
                               27                     be achieved through available legal remedies. Further, injunctive relief, in the form
                               28                     of packaging or label modifications, is necessary to dispel public misperception

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 27 of 31




                                1                     about the Products that has resulted from years of Defendant’s unfair, fraudulent,
                                2                     and unlawful marketing efforts. Such modifications would include, but are not
                                3                     limited to, shrinking the packaging, adding more powder product to the packaging,
                                4                     or adding a fill line on the front label. Such relief is also not available through a
                                5                     legal remedy as monetary damages may be awarded to remedy past harm (i.e.,
                                6                     purchasers who have been misled), while injunctive relief is necessary to remedy
                                7                     future harm (i.e., prevent future purchasers from being misled), under the current
                                8                     circumstances where the dollar amount of future damages is not reasonably
                                9                     ascertainable at this time. Plaintiff is, currently, unable to accurately quantify the
                               10                     damages caused by Defendant’s future harm (e.g., the dollar amount that Plaintiff
                               11                     and Class members overpay for the underfilled Products), rendering injunctive relief
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                               12                     a necessary remedy.
     Malibu, CA 90265




                               13                                                  COUNT FOUR
                               14                           Restitution Based on Quasi-Contract/Unjust Enrichment
                               15            125.     Plaintiff repeats and realleges the allegations set forth above and incorporates the
                               16    same as if set forth herein at length.
                               17            126.     Plaintiff brings this cause of action individually and on behalf of the members of the
                               18    Class against Defendant.
                               19            127.     By means of Defendant’s wrongful conduct alleged herein, Defendant knowingly
                               20    sold the Products to Plaintiff and members of the Class in a manner that was unfair,
                               21    unconscionable, and oppressive.
                               22            128.     Defendant knowingly received and retained wrongful benefits and funds from
                               23    Plaintiff and members of the Class. In so doing, Defendant acted with conscious disregard for the
                               24    rights of Plaintiff and members of the Class.
                               25            129.     As a result of Defendant’s wrongful conduct as alleged herein, Defendant has been
                               26    unjustly enriched at the expense of, and to the detriment of, Plaintiff and members of the Class.
                               27            130.     Defendant’s unjust enrichment is traceable to, and resulted directly and proximately
                               28    from, the conduct alleged herein.

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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 28 of 31




                                1            131.     Under the common law doctrine of unjust enrichment, it is inequitable for Defendant
                                2    to be permitted to retain the benefits it received, without justification, from selling the Products to
                                3    Plaintiff and members of the Class in an unfair, unconscionable, and oppressive manner.
                                4    Defendant’s retention of such funds under such circumstances constitutes unjust enrichment.
                                5            132.     The financial benefits derived by Defendant rightfully belong to Plaintiff and
                                6    members of the Class. Defendant should be compelled to return in a common fund for the benefit
                                7    of Plaintiff and members of the Class all wrongful or inequitable proceeds received by Defendant.
                                8            133.     Plaintiff and members of the Class have no adequate remedy at law.
                                9                                                  COUNT FIVE
                               10                                               Common Law Fraud
                               11            134.     Plaintiff repeats and realleges all of the allegations contained in the preceding
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                               12    paragraphs and incorporates the same as if set forth herein at length.
     Malibu, CA 90265




                               13            135.     Plaintiff brings this cause of action individually and on behalf of the members of the
                               14    Class against Defendant.
                               15            136.     Defendant has willfully, falsely, and knowingly filled and packaged the Products in
                               16    a manner indicating that the Products are sufficiently filled with an amount of protein powder
                               17    product commensurate with the size of the container. However, the Products contain 52% less
                               18    protein powder product than required and instead contain a substantial amount of nonfunctional
                               19    and unlawful slack-fill. Defendant has misrepresented the quantity of protein powder product
                               20    contained in the Products.
                               21            137.     Defendant’s misrepresentations are and were material (i.e., the type of
                               22    misrepresentations to which a reasonable person would attach importance and would be induced
                               23    to act thereon in making his or her purchase decision), because they relate to the quantity of
                               24    protein powder product contained in the Products.
                               25            138.     Defendant knew of, or showed reckless disregard for, the fact that the Products
                               26    contained a substantial amount of nonfunctional slack-fill.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 29 of 31




                                1            139.     Defendant intended for Plaintiff and the Class to rely on these representations, as
                                2    evidenced by Defendant’s intentional manufacturing of packaging that is substantially larger than
                                3    necessary to hold the volume of the contents contained therein.
                                4            140.     Plaintiff and the Class have reasonably and detrimentally relied on Defendant’s
                                5    misrepresentations when purchasing the Products and, had they known the truth, they would not
                                6    have purchased the Products or would have paid significantly less for the Products.
                                7            141.     Therefore, as a direct and proximate result of Defendant’s fraud, Plaintiff and
                                8    members of the Class have suffered injury in fact.
                                9                                                    COUNT SIX
                               10                                            Intentional Misrepresentation
                               11            142.     Plaintiff repeats and realleges all of the allegations contained above and incorporates
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                               12    the same as if set forth herein at length.
     Malibu, CA 90265




                               13            143.     Plaintiff brings this cause of action individually and on behalf of all members of the
                               14    Class against Defendant.
                               15            144.     Defendant has filled and packaged the Products in a manner indicating that the
                               16    Products are adequately filled with protein powder product. However, the Products contain 52%
                               17    less protein powder product than required and instead contain a substantial amount of
                               18    nonfunctional slack-fill. Defendant misrepresented the quantity of protein powder product
                               19    contained within the Products’ packaging.
                               20            145.     Defendant’s misrepresentations regarding the Products are material to a reasonable
                               21    consumer, as they relate to the quantity of product received by consumers. A reasonable consumer
                               22    would attach importance to such representations and would be induced to act thereon in making
                               23    his or her purchase decision.
                               24            146.     At all relevant times when such misrepresentations were made, Defendant knew or
                               25    should have known that the representations were misleading.
                               26            147.     Defendant intended for Plaintiff and the Class to rely on the size and style of the
                               27    Products’ packaging, as evidenced by Defendant’s intentional manufacturing, marketing, and
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                                                                             CLASS ACTION COMPLAINT
                                               Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 30 of 31




                                1    selling of packaging that is significantly larger than is necessary to contain the volume of the
                                2    contents within them.
                                3              148.   Plaintiff and members of the Class reasonably and justifiably relied on Defendant’s
                                4    intentional misrepresentations when purchasing the Products, and had they known the truth, they
                                5    would not have purchased the Products or would have purchased them at significantly lower
                                6    prices.
                                7              149.   As a direct and proximate result of Defendant’s intentional misrepresentations,
                                8    Plaintiff and members of the Class have suffered injury in fact.
                                9                                                  COUNT SEVEN
                               10                                             Negligent Misrepresentation
                               11              150.   Plaintiff repeats and realleges all of the allegations contained above and incorporates
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                               12    the same as if set forth herein at length.
     Malibu, CA 90265




                               13              151.   Plaintiff brings this cause of action individually and on behalf of the Class against
                               14    Defendant.
                               15              152.   Defendant has filled and packaged the Products in a manner indicating that the
                               16    Products are adequately filled with protein powder product. However, the Products contain 52%
                               17    less protein powder product than required and instead contain a substantial amount of
                               18    nonfunctional slack-fill. Therefore, Defendant has misrepresented the amount of protein powder
                               19    product contained in the Products.
                               20              153.   Defendant’s misrepresentations regarding the Products are material to a reasonable
                               21    consumer, as they relate to the quantity of product received by the consumer. A reasonable
                               22    consumer would attach importance to such representations and would be induced to act thereon in
                               23    making his or her purchase decision.
                               24              154.   At all relevant times when such misrepresentations were made, Defendant knew or
                               25    should have known that the Products were not adequately filled with protein powder but instead
                               26    contained a substantial amount of nonfunctional slack-fill.
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                                                                             CLASS ACTION COMPLAINT
                                              Case 3:22-cv-02222 Document 1 Filed 04/08/22 Page 31 of 31




                                1            155.     Defendant intended for Plaintiff and the Class to rely on the size and style of the
                                2    Products’ packaging, as evidenced by Defendant’s packaging that is significantly larger than is
                                3    necessary to contain the volume of the protein powder product therein.
                                4                                              PRAYER FOR RELIEF
                                5             WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays
                                6    for judgment and relief on all Causes of Action as follows:
                                7                     A.       An order enjoining Defendant from continuing to label and/or package the
                                8                              Products as challenged herein;
                                9                     B.       Damages against Defendant in an amount to be determined at trial, together
                               10                              with pre- and post- judgement interest at the maximum rate allowable by law
                               11                              on any amounts awarded;
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                               12                     C.       Restitution and/or disgorgement in an amount to be determined at trial;
     Malibu, CA 90265




                               13                     D.       Reasonable attorneys’ fees and costs; and
                               14                     E.       Granting such other and further as may be just and proper.
                               15                                             JURY TRIAL DEMANDED
                               16            Plaintiff demands a jury trial on all triable issues.
                               17

                               18    DATE: April 8, 2022                                     CLARKSON LAW FIRM, P.C.
                               19                                                            /s/ Zachary Chrzan
                                                                                             Ryan J. Clarkson, Esq.
                               20                                                            Zachary Chrzan, Esq.
                               21                                                            Attorneys for Plaintiff
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                                                                             CLASS ACTION COMPLAINT
